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Supreme Court of Rhode Island
Pirobidence

This Certifies that

Roger Roots

of Providence, RI

is an Attorney and Counselor of the Supreme Court of the
State of Rhode Island, and as such was on the 3rd day of
June, 2003 admitted to practice in all the courts of said
state as appears of record in the Office of the Clerk of the
Supreme Court and ts in good standing and qualified to
practice in said courts.

Given under our hands and the seal of said Supreme Court
at Providence this the 22nd day of June, 2023.

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